929 F.2d 694Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ralph SEAGLE, Plaintiff-Appellant,v.B.C. LAMBERT, Superintendent, Catawba County Prison Unit;Mr. Mcmouns, Assistant Steward;  Mr. Cochran;  Mr. Moretz,Kitchen Supervisor;  R.S. Whitaker, Superintendent,Cleveland County Prison Unit;  Bobby Thomas, Steward;  HalGantt, Steward;  Don Sprusamsky, Steward;  JosephPickelsimer, Lincoln County Prison Unit;  Lawrence Norwood,Steward;  Joe Richards, Steward;  Bruce Cook, Steward,Defendants-Appellees.
    No. 91-7251.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 4, 1991.Decided March 20, 1991.
    
      Appeal from the United States District Court for the Western District of North Carolina, at Statesville.  Robert D. Potter, Chief District Judge.  (CA-89-161)
      Ralph Seagle, appellant pro se.
      Lacy Herman Thornburg, Office of the Attorney General of North Carolina, Sylvia Hargett, Thibaut, Assistant Attorney General, Raleigh, N.C., for appellees.
      W.D.N.C.
      AFFIRMED.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Ralph Seagle appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Seagle v. Lambert, CA-89-161 (W.D.N.C. Dec. 14, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    